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EXHIBIT P

Case 1:09-Cv-00597-LI\/|B-TCB Document 38-17 Filed 10/23/09 Page 2 of 3 Page|D# 641

Roth, Me|issa R.

From: Dickinson, Michel|e J.

Sent: Wednesday, October 14, 2009 7:50 PM
To: 'isabe|@hhylaw.com'

Cc: Roth, |V|elissa R.; Cramer, Vanessa
Subject: Re: Loomis

I request that you overnight the disks to my office upon receipt on Friday. We will have
no choice but to file a motion to compel on Monday if we do not receive them by then.

November 4 will not work for us for Jenni's depo. If Jenni has a real conflict with the
dates we proposed for Arizona as an accomodation to you, we can do her deposition on the
Sth or 6th in NC and do Joe‘s on the 9th in AZ as planned. Please advise.

We are reviewing the 30b6 areas of inquiry and will identify the representative(s) and
dates shortly.

Michelle J. Dickinson

DLA Piper LLP (US)

6225 Smith Avenue

Baltimore, Maryland 21209-3600
(410) 580-4137 Direct Phone
(410) 580-3137 DireCt FaX
michelle.dickinson@dlapiper.com

ATTORNEY WORK PRODUCT

----- Original Message ~»---

From: Isabel M Humphrey <isabel@hhylaw.com>
To: Dickinson, Michelle J.

5€nt: Wed OCt 14 18:57:30 2009

Subject: RE: Loomis

I am told that I should have the disks in my office by Friday.

Regarding Jenni's deposition, the best date I can get from her is Nov. 4 (Wednesday]. As
you have a local office here, perhaps you can work remotely from Phoenix on the days in
between depos? Also, once you identify the 30(b)(6) deponents, enabling us to identify
the additional depositions we will need, it may turn out that one or more of our deponents
are in Arizona and we can work them in on those days.

Isabel M. Humphrey, Esq.
HUNTER, HUMPHREY & YAVITZ, PLC
2633 E Indian School Rd, #440
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Telephone: 602-275-7733 xlO3
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----- Original Message -----

From: "Dickinson, Michelle J."

To: "Isabel M Humphrey" , "Randy Yavitz"
Sent: 10/14/2009 lZ:llPM

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Subject: Loomis

Counsel:

During our call on Thursday, October 9, 2009, you indicated that it was reasonable for us
to expect to receive Joe Loomis and Jenni Loomis' document production yesterday. We did
not. Please advise today as to when you will produce the documents.

Michelle

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